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                                                                                         FILED
                                                                              John E. Triplett, Acting Clerk
                                                                               United States District Court



                United States District Court                              By MGarcia at 3:26 pm, Jun 01, 2020




            for the Southern District of Georgia
                    Brunswick Division
UNITED STATES OF AMERICA,             )
                                      )
                                      )
v.                                    )              CR 216-012-8
                                      )
                                      )
MELVINA LEWIS,                        )
                                      )
       Defendant.                     )

                                      ORDER

       Before   the   Court   is    Defendant       Melvina   Lewis’    motion            to

reduce sentence pursuant to the First Step Act of 2018.                             Dkt.

No. 983. Lewis’ motion is DENIED.

       In March 2019, Lewis moved for a sentence reduction under

§ 3582(c)(1)(B) based upon the First Step Act. Dkt. No. 916.

This Court denied Lewis’ First Step Act motion on November 26,

2019.    Dkt. No. 963.    Lewis did not appeal that decision.

       Section 404(c) of the First Step Act specifically states

that    “[n]o   court   shall      entertain    a    motion   made     under        this

section to reduce a sentence . . . if a previous motion made

under this section to reduce the sentence was, after the date of

enactment of this Act, denied after a complete review of the

motion on the merits.” Pub. L. 115-391, 132 Stat. 5194 (2018).

Because this Court has already reviewed Lewis’ initial First
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Step Act motion and denied it on the merits, it is now without

jurisdiction to review her second First Step Act motion. See

United States v. Johnson, No. CR 108-110 (S.D. Ga. Apr. 24,

2020) (granting motion to dismiss under § 404(c) and explaining

that “the Court may not address Defendant’s second First Step

Act motion”).     Accordingly, Lewis’ motion for release and/or

resentencing under § 3582, as amended by the First Step Act,

dkt. no. 983, is DISMISSED.

     SO ORDERED, this 1st day of June, 2020.




                                 __________________________________
                                 HON. LISA GODBEY WOOD, JUDGE
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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